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December 23, 2019

VIA HAND DELIVERY

Honorable Richard M. Berman, U.S.D.J.
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street

New York, New York 10007

Re: United States v. Tiirkiye Halk Bankasi A.S., a/k/a/ “Halkbank”
U.S. District Court for the Southern District of New York
No. 1:15-cr-00867-RMB

Dear Judge Berman:

Tiirkiye Halk Bankasi A.S. (“Halkbank” or the “Bank”) submits this letter in response to
the prosecution’s letter to the Court dated December 19, 2019. United States v. Tiirkiye Halk
Bankasi A.S., No. 1:15-cr-00867-RMB (S.D.N.Y. Dec. 19, 2019), ECF No. 584 (“Gov't Ltr.”).

While the prosecution acknowledges that “personal jurisdiction can be waived,” Gov't
Ltr. at 3 (emphasis in original), the Court has already issued its ruling that Halkbank cannot
challenge personal jurisdiction at all. Instead, while the Court has invited Halkbank to “litigate
recusal and jurisdiction following arraignment,” Decision at 22, United States v. Tiirkiye Halk
Bankasi A.&., No. 1:15-cr-00867-RMB (S.D.N.Y. Dec. 5, 2019), ECF No. 581 — notably the
Court does not specify that Halkbank may challenge personal jurisdiction — the Court has
already ruled that “it is improper to make a personal jurisdiction motion based on the absence of
minimum U.S. contacts in a criminal case.” /d. at 16. Because the Court has already foreclosed
Halkbank’s opportunity to make its personal jurisdiction motion at all, the mandamus petition is
both timely and ripe — and necessary to preserve the waivable right to contest personal

jurisdiction.
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Halkbank’s mandamus petition is also likely to succeed. As detailed in the Bank’s
memorandum of law, the Second Circuit has a strong record of protecting threshold and
jurisdictional rights, both on appeal and through mandamus. Although this case presents a novel
issue in the Second Circuit, the Seventh Circuit has granted mandamus in a similar case to allow
a foreign defendant to seek the pre-arraignment dismissal! of an indictment. Jn re Hijazi, 589
F.3d 401, 414 (7th Cir. 2009). The prosecution in Hijazi argued that a writ of mandamus should
not be available because the defendant could obtain the desired relief by showing up in court and
making a general appearance. This is the same argument adopted by the District Court here. But
the Hijazi court of appeals rejected that argument. /d. at 407. The court found that the “ordinary
proceedings” of making an appearance and entering a plea did not provide the defendant with an
adequate remedy and that the relief he was requesting was “well within the power of the district
court.” /d. at 408.

Halkbank’s request for a stay should be granted, as it satisfies all of the requisite factors,
as detailed in the Bank’s memorandum of law. The prosecution argues that Halkbank will not
suffer irreparable harm because its personal jurisdiction argument will not be waived by an
appearance and that, in any event, Halkbank can appeal its conviction or a contempt order.
Halkbank has a constitutional right to challenge a court’s unreasonable exercise of personal
jurisdiction, but this right is conditional. /nt’l Harvester Co. v. Kentucky, 234 U.S. 579 (1914).
The prosecution’s present stated intention not to assert at a later time that the Bank has waived
its jurisdictional challenge does not eliminate the very credible threat of waiver, as each court
must assess for itself whether jurisdiction exists, and a district court’s determination on that point
does not bind the appellate court. See Dynegy Midstream Servs. v. Trammochem, 451 F.3d 89,
94 (2d Cir. 2006). Thus, neither the Prosecution nor this Court can guarantee Halkbank would
not waive its argument by first generally appearing.

In support of its contention that there is no risk of waiver, the prosecution fails to
distinguish United States v. Beadon, 49 F.2d 164 (2d Cir. 1931) and United States v. Maruyasu
Indus. Co., 229 F, Supp. 3d 659 (S.D. Ohio 2017). Beadon clearly addresses waiver of personal
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jurisdiction.' This Court’s own characterization of Beadon that “[d]efendants challenged the
court’s jurisdiction after appearing” United States v. Tiirkiye Halk Bankasi A.S., No. 1:15-cr-
00867-RMB (S.D.N.Y. Dec. 5, 2019), ECF No. 581 (Decision, App. B, at i), appropriately
reflects that the Beadon court found that the attorneys’ voluntary appearance on behalf of
defendants established jurisdiction over them. The Second Circuit affirmed those convictions,
despite defendants challenging personal jurisdiction, precisely because “the record showed that
they had appeared by attorneys.” Beadon, 49 F.2d at 166.

The prosecution argues yet again that Maruyasu did not find that the defendant had
waived its personal jurisdiction argument, but this is wrong. In Martyasu, the court explicitly
wrote that, “by appearing and participating in the litigation, Maruyasu [had] consented to the
Court's personal jurisdiction over it.” Martuyasu Indus. Co., 229 F. Supp. 3d at 671.

Not only is the prosecution wrong about the existence of persuasive authority supporting
the risk of waiver, the prosecution does not cite to any other contrary case law that would
squarely take this risk off the table. Because of the clear risk of waiver, compounded by the
Court’s denial that the right the Bank seeks to assert even exists, Halkbank has filed a petition for
mandamus regarding this Court’s denial of a special appearance.

The likelihood of irreparable harm which would result from waiver strongly tips the
balance of factors in Halkbank’s favor. The fact that the Bank’s constitutional due process rights
are at stake, Mitchell v. Cuomo, 748 F.2d 804, 806 (2d Cir. 1984), coupled with the ongoing and
escalating financial harm to the Bank exceeds the requirement for a showing of irreparable harm.

As detailed above and in its memorandum of law, Halkbank also has a high likelihood of
success on the merits. The motion to stay is likely to be successful as the Second Circuit will
likely grant the Bank’s petition for mandamus on the special appearance issue related to personal
jurisdiction.

The prosecution complains that Halkbank has not yet provided this Court with the ability
to evaluate the success of its recusal motion and thus has deprived the Court of the ability to

evaluate its success on the merits. However, for the purposes of the Bank’s motion to stay,

 

' Beadon was decided before Rule 43 was adopted, and thus Beadon makes no mention of that
rule. Rather, the question, linked heavily to service throughout the discussion, was about
personal jurisdiction.
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evaluating success on the merits does not require the Bank to preview its recusal arguments.
Recusal is linked to the special appearance and the Bank’s eventual motion challenging personal
jurisdiction, and the Bank will seek recusal only to ensure it receives fair review of its motion to
dismiss.

Contrary to the prosecution’s assertion that Halkbank is delaying proceedings, Halkbank
is attempting to obtain the most efficient resolution to this matter by filing a motion to dismiss.
However, it must first ensure that it will not waive its constitutional rights by doing so. The
prosecution on the one hand charges Halkbank with delay tactics and, on the other, seeks to
avoid complying with the Court’s timetable for filing its brief on the entirely unrelated contempt
issues. The Bank’s requested stay would accomplish a similar effect to the prosecution’s request
for adjournment by postponing the contempt hearing and subsequent arraignment until the
Second Circuit has issued its ruling.

Finally, contrary to the prosecution’s claim that a stay is premature, the Bank’s request is
timely because it seeks to avoid the risk of irreparable harm that could occur as soon as early
February, when this Court has set a hearing date on contempt charges and arraignment thereafter.
A general appearance at arraignment would risk waiver of the Bank’s personal jurisdiction
argument,” and the Bank’s failure to appear could lead to contempt sanctions. Both options
would lead to harm — harm that would be irreparable if the Bank’s appearance resulted in a
waiver of its jurisdictional claim and manifestly unfair if it were subjected to contempt for

seeking to preserve this claim. As such, the Bank’s request for a stay is timely.

 

2 The prosecution makes unsupported factual assertions outside the indictment that attempt to
link Halkbank to Iran and its “state sponsorship of terrorism, weapons of mass destruction
programs, and other murderous and globally destabilizing activities.” Gov’t Ltr. at 2, n. 1. This
inaccurate and inflammatory rhetoric has no relevance to the limited procedural issue before the
court, and appears to be a further attempt to provide prejudicial fodder for this Court and the
media. As the prosecution itself stated: “Purported foreign affairs implications do not alter the
application of clear law or warrant treating Halkbank differently from any other party before the
Court.” Gov't Ltr. at 4, n. 3.
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For the foregoing reasons and the reasons set forth in Halkbank’s prior motion, this Court
should grant Halkbank’s request to stay proceedings pending the Second Circuit’s ruling on the

Bank’s mandamus petition.

Respectfully,

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